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                                                                                        New Jersey as a Civil Trial !tummy
                              "REPLY TO NJ OFFICE
 March 14, 2018

  Via ECF
  Hon. William J. Martini, U.S.D.J.
  United States District Court
  District of New Jersey
  1 Federal Square Newark, New Jersey 07102

                        Re: Ciotti v. Borough of Englewood Cliffs, etal.
                            Civil Action No. 2:16-cv-04536-WJM-MF

  Judge Martini:

         This office along with the Galantucci, Patuto, DeVencentes, Potter & Doyle, LLC law firm
  represents the plaintiff Chief Michael Cioffi ("Plaintiff' or "Chief Ciotti") in connection with the
  above-referenced matter.

         The purpose of this letter is to follow up on previous letter requesting an extension for motions
  which were returnable April 2, 2018. In that letter (Docket #63), we indicated that we had not yet
  received consent from counsel for the Borough of Englewood Cliffs, Mark Park and Nunzio
  Consalvo.

        This afternoon, we received consent from Philip Portantino, Esq. on behalf of those
  Defendants. Therefore, Plaintiff now has consent from all parties to the extension.

             Thank you for your attention to this matter.

                                                                           Respectfully Yours
                                                                           s/Richard Malagiere/
                                                                           Richard Malagiere
  Cc: Counsel of record via ECF
